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 21
                          UNITED STATES DISTRICT COURT
 22
                        CENTRAL DISTRICT OF CALIFORNIA
 23
      JENNY LISETTE FLORES; et al.,             Case No. CV 85-4544-DMG
 24
                 Plaintiffs,                    NOTICE OF MOTION AND
 25                                             MOTION TO INTERVENE AS
           v.                                   PLAINTIFFS;
 26                                             MEMORANDUM OF POINTS AND
    JEFFERSON B. SESSIONS III,                  AUTHORITIES IN SUPPORT
 27 ATTORNEY GENERAL OF THE                     THEREOF
    UNITED STATES; KIRSTJEN
 28 NIELSEN, SECRETARY OF
    HOMELAND SECURITY; U.S.
       NOTICE OF MOTION AND MOTION TO INTERVENE AS PLAINTIFFS AND MEMORANDUM OF POINTS
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  1 DEPARTMENT OF HOMELAND                            Date: July 27, 2018
    SECURITY, AND ITS SUBORDINATE                     Time: 9:30 a.m.
  2 ENTITIES; U.S. IMMIGRATION AND
    CUSTOMS ENFORCEMENT; U.S.                         Judge: Hon. Dolly M. Gee
  3 CUSTOMS AND BORDER                                Courtroom: 8C, Los Angeles Courthouse
    PROTECTION,
  4
              Defendants.
  5
  6
    Ms. J.P., Ms. J.O., Ms. R.M., and DOES 1-
  7 10,
  8                Plaintiff-Intervenors.
  9
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      ** Institution listed for identification purposes only
 28

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  1 TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
  2         PLEASE TAKE NOTICE that on July 27, 2018, at 9:30 a.m. or as soon
  3 thereafter as may be heard in Courtroom 8C of the above-entitled court, located at
  4 350 West 1st Street, Los Angeles, California 90012, Ms. J.P., Ms. J.O., Ms. R.M.,
  5 and DOES 1-10 (collectively “Plaintiff-Intervenors”) will and hereby do move this
  6 Court for entry of an order permitting Plaintiff-Intervenors to intervene as a matter
  7 of right in the above-captioned matter for the purpose of participating in the
  8 enforcement of the Settlement Agreement in Flores v. Meese, 681 F. Supp. 665
  9 (C.D. Cal. 1988), to ensure that it fully addresses the impact of the family separation
 10 program on themselves and their children. Plaintiff-Intervenors seek, in particular,
 11 (i) prompt family release from detention, because they, as parents of accompanying
 12 minor class members, are the preferred custodians of the minor class members
 13 pursuant to paragraph 14(A) of the Settlement Agreement, and need now to be
 14 reunified with their children, who are members of the Flores class, outside of
 15 detention to address effectively the trauma imposed by the government’s policy of
 16 family separation, and (ii) to obtain trauma-informed remedial medical and mental
 17 health services outside of detention for each family (each parent and her minor class
 18 member child(ren) separated and detained) appropriate to address the trauma caused
 19 by family separation and minor class member detention. Plaintiff-Intervenors also
 20 seek to intervene as a matter of right for the purpose of opposing Defendants’ Ex
 21 Parte Application for Relief from the Settlement Agreement, which, if granted,
 22 would impair or impede Plaintiff-Intervenors’ aforementioned interests.
 23 Alternatively, in the event the Court finds that Plaintiff-Intervenors are not entitled
 24 to intervention as a matter of right, Plaintiff-Intervenors seek permissive
 25 intervention.
 26         This motion is made pursuant to Federal Rules of Civil Procedure
 27 Rule 24(a)(2) for mandatory intervention on the grounds that 1) this motion is
 28 timely, 2) Plaintiff-Intervenors claim a significant protectable interest relating to the
                                                1
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  1 subject of the action, 3) disposition of the action through the continued enforcement
  2 of the Settlement Agreement without an addendum to protect Plaintiff-Intervenors’
  3 interests or through granting relief from the Settlement Agreement to Defendants
  4 may impair or impede Plaintiff-Intervenors’ ability to protect their interests, and 4)
  5 the existing parties do not adequately represent the Plaintiff-Intervenors’ interests.
  6           Alternatively, this motion is made pursuant to Federal Rules of Civil
  7 Procedure Rule 24(b)(1)(B) for permissive intervention on the grounds that
  8 1) Plaintiff-Intervenors have a claim or defense that shares with the main action a
  9 common question of law or fact, 2) there exist independent grounds for jurisdiction,
 10 and 3) this motion is timely.
 11           This motion is based upon this Notice of Motion; the supporting
 12 Memorandum of Points and Authorities; the concurrently-lodged proposed
 13 Complaint in Intervention setting out the claim for which intervention is sought as
 14 required by Federal Rule of Civil Procedure 24(c) and all supporting declarations;
 15 all documents and pleadings on file in this action; and on such other oral and
 16 documentary evidence as may be presented at the hearing on this motion.
 17           Plaintiff-Intervenors met and conferred with the parties before filing this
 18 motion.1 Defendants advised that they will oppose the motion to intervene.
 19
 20 DATED: June 25, 2018
 21                                              /s/ Amy P. Lally
 22
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 24
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      1
 27   Due to the immediate exigency of the situation faced by Plaintiff-Intervenors,
    described herein and in the Complaint in Intervention, the conference of counsel
 28 took place the same day as filing and not seven days prior.
                                               2
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 10 United States v. City of Los Angeles,
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 12 United States v. State of Oregon,
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 14 Vill. of Arlington Heights v. Metro. Hous. Dev. Corp.,
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  1                MEMORANDUM OF POINTS AND AUTHORITIES
  2         Plaintiff-Intervenors respectfully submit this memorandum of points and
  3 authorities in support of their motion to intervene.
  4                                 I.     INTRODUCTION
  5         Plaintiff-Intervenors are parents of minor class members. Plaintiff-
  6 Intervenors are currently being held in detention by the federal government. Each
  7 parent came to the United States with a child under the age of 18, fleeing from
  8 persecution in her native country, and seeking asylum here as permitted under the
  9 laws of the United States. The federal government recently enacted extraordinary,
 10 deliberate, and needless policies of separating immigrant parents from their children,
 11 holding each in prolonged detention with no access to each other, and creating a
 12 desperate need for family mental health services to address the consequences of
 13 such cruel separation. In an effort to legitimize these policies, Defendant moved the
 14 Court to reopen this Action and revise the Settlement Agreement between the
 15 minors and the United States.
 16         Defendants’ policies—and their related enforcement efforts—have caused the
 17 mistreatment of these minors in violation of the Settlement Agreement in this Case.
 18 That violation has also harmed Plaintiff-Intervenors both as the parents of
 19 accompanied minors and as individuals. Plaintiff-Intervenors now move the Court
 20 to allow them to intervene in order to protect their significant interests in the Court’s
 21 disposition of this Case.
 22                                  II.   BACKGROUND
 23         A.    PARTIES
 24         Plaintiff-Intervenors are the accompanying parents of minors who came to the
 25 United States seeking asylum as permitted by law. Plaintiff-Intervenor J. P. (“Ms.
 26 P.”) is the 37-year-old mother of 16-year-old L.P. Ms. P. entered the country with
 27 her daughter on or around May 17, 2018, and Ms. P. was separated from her
 28 daughter on or around May 20, 2018. Ms. P. is currently detained in the custody of
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  1 U.S. Immigration and Customs Enforcement at the James A. Musick Facility in
  2 Irvine, California. Her daughter L.P. is currently being detained at Casa Phoenix, a
  3 Southwest Key Programs, Inc., facility in Phoenix, Arizona.
  4        Plaintiff-Intervenor J.O. (“Ms. O.”) is the mother of 16-year-old T.B. Ms. O.
  5 entered the country with her daughter on or around May 18, 2018, and Ms. O. was
  6 separated from her daughter on or around May 21, 2018. Ms. O. is being held in
  7 custody in the Northwest Detention Center in Tacoma, Washington. Ms. O.’s
  8 daughter, T.B. is currently being detained at Casa Antigua, a Southwest Key
  9 Programs, Inc. facility in San Benito, Texas.
 10        Plaintiff-Intervenor R. M. (“Ms. M.”) is the mother of 15-year-old S.Q. Ms.
 11 M. entered the country with her daughter on or around May 18, 2018, and Ms. M
 12 was separated from her daughter. Ms. M. is currently being detained at the
 13 Northwest Detention Center in Tacoma, Washington. Ms. M.’s daughter is
 14 currently being detained at Casa Antigua, a Southwest Key Programs, Inc. facility in
 15 San Benito, Texas.
 16        Plaintiff-Intervenor Does 1–10 are parents of minor children who are being
 17 detained by U.S. immigration officials after entering into the United States by
 18 crossing the southern border, and who likewise have been separated from their
 19 minor children.
 20        Defendant Jefferson B. Sessions is the Attorney General of the United States,
 21 and is responsible for setting policy related to the enforcement of immigration laws
 22 in the United States, including the policy of family separation. Defendant Kirstjen
 23 Nielsen is the Secretary of the U.S. Department of Homeland Security (“DHS”), and
 24 is responsible for the administration of immigration laws in the United States.
 25 Defendant Nielsen has ultimate responsibility for each of the agencies within DHS,
 26 and for all DHS policies and procedures. Defendant DHS is responsible for
 27 enforcing the immigration laws of the United States. Defendant U.S. Immigration
 28 and Customs Enforcement (“ICE”) is the agency of DHS responsible for
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  1 administering immigration laws in the United States, including overseeing
  2 immigration detention. Defendant U.S. Customs and Border Protection (“CBP”) is
  3 an agency of DHS responsible for the processing and detention of noncitizens who
  4 are apprehended near the United States border.
  5         B.     RELEVANT PROCEDURAL HISTORY
  6         This action began as a class action brought in 1985 to challenge the
  7 conditions of confinement of detained immigrant children. Following more than a
  8 decade of litigation, in 1997 the parties reached a settlement agreement (the
  9 “Settlement Agreement”) that established a “nationwide policy for the detention,
 10 release, and treatment of minors in the custody of the INS.” See Flores v. Lynch,
 11 828 F.3d 898, 901 (9th Cir. 2016).
 12         Under the Settlement Agreement, the government must provide to minors
 13 “appropriate mental health interventions when necessary,” “identification of the
 14 minors’ special needs including any specific problem(s) which . . . require
 15 immediate intervention,” “[a]t least one (1) individual counseling session per week
 16 conducted by trained social work staff,” “[g]roup counseling,” and “[v]isitation and
 17 contact with family members (regardless of their immigration status) . . . .”
 18 Settlement, Exhibit 1. The government is also required to “treat minors with
 19 dignity, respect and special concern for their particular vulnerability.” Id.,
 20 Exhibit 2. And the government is required to “hold minors in a facility that is safe
 21 and sanitary and that is consistent with . . . the particular vulnerability of minors.”
 22 Id.
 23         In 2016, the Ninth Circuit affirmed this Court’s ruling that the terms of the
 24 Settlement apply to all minors whether or not they enter the country accompanied by
 25 their families. Id. The Ninth Circuit also held, however, that the Settlement
 26 Agreement does not apply to the parents of accompanied minors, including Plaintiff-
 27 Intervenors. See Flores, 828 F.3d at 909.
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  1           C.    FAMILY CASE MANAGEMENT PROGRAM
  2           On January 21, 2016, ICE launched the Family Case Management Program
  3 (“FCMP”) as “an alternative to detention initiative that uses qualified case managers
  4 to promote participant compliance with their immigration obligations.”2 The
  5 program used a wrap-around services model to immigrant families that ICE
  6 recommended for placement after determining they were non-dangerous and “low
  7 flight risk” families.3 FCMP proved to be an effective alternative to detention
  8 within its first year of operation insofar as it satisfied ICE’s primary goal of ensuring
  9 compliance with participants’ immigration obligations.4
 10           D.    ZERO TOLERANCE POLICY
 11           Despite the success of the program, Defendants adopted a “zero tolerance”
 12 policy on May 7, 2018, in an effort to deter migrants from crossing the border. As a
 13 result of the Separation Policy, adult migrants were taken into federal criminal
 14 custody. Their minor children, however, could not accompany their parents while in
 15 the custody of the criminal court system, and thus, children were transferred to the
 16 custody of the U.S. Department of Health and Human Services (“HHS”) to be
 17 placed in shelters or foster homes.
 18           Pursuant to the Separation Policy, Defendants have separated over 2,300
 19 children from their parents, including Plaintiff-Intervenors. As described in
 20
 21
      2
 22  U.S. I.C.E. Fact Sheet: Stakeholder Referrals to the ICE/ERO Family Case
    Management Program, p. 1.
 23 http://www.ilw.com/immigrationdaily/news/2016,0111-ICE.pdf
      3
 24   Mary F. Loiselle, “GEO Care’s New Family Case Management Program,” GEO
    World Vol. 22 Issue 2, p. 3 (2016), https://www.geogroup.com/userfiles/1de79aa6-
 25
    2ff2-4615-a997-7869142237bd.pdf
 26 4 See U.S. D.H.S., U.S. Immigration and Customs Enforcement’s Award of the
 27 Family Case Management Program Contract (Redacted). Office of Inspector
    General, OIG-18-22, p. 5 (Nov. 30, 2017)
 28 https://www.oig.dhs.gov/sites/default/files/assets/2017-12/OIG-18-22-Nov17.pdf.
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  1 Plaintiff-Intervenor’s Complaint in Intervention, this is causing (and has caused)
  2 immediate and long-lasting physical and psychological harm to children and parents
  3 alike.
  4          As a result of the Separation Policy and Defendants’ subsequent enforcement
  5 efforts, Defendants have failed to meet their obligations under the Settlement
  6 Agreement. That failure has caused significant harm to the accompanied children
  7 who are parties to the Settlement Agreement, and to Plaintiff-Intervenors, both as
  8 the parents of the Plaintiff class members and in their individual capacities.
  9                                    III.   ARGUMENT
 10          The Court should grant Plaintiff-Intervenors’ motion to intervene in this
 11 action because Defendants’ violation of the Settlement Agreement and Defendants’
 12 recent motion to modify the terms of the Settlement Agreement have harmed and
 13 will continue to harm Plaintiff-Intervenors’ significant interests in their children,
 14 their health, and their constitutional rights. Parental participation is essential to fully
 15 vindicate both their children’s rights under Flores and the Plaintiff-Intervenors’ own
 16 related rights, and the interdependent nature of the harm imposed on parent and
 17 child by prolonged family separation and the remedies that the Flores Settlement
 18 Agreement requires both counsel for a coordinated enforcement response from this
 19 Court.
 20          Intervention is governed by Federal Rule of Civil Procedure 24. The Rule is
 21 construed liberally in favor of intervention, and the Court’s analysis is guided
 22 primarily by practical considerations rather than technical distinctions. Sw. Ctr. for
 23 Biological Diversity v. Berg, 268 F.3d 810, 817 (9th Cir. 2001). “A liberal policy in
 24 favor of intervention serves both efficient resolution of issues and broadened access
 25 to the courts. By allowing parties with a practical interest in the outcome of a
 26 particular case to intervene, we often prevent or simplify future litigation involving
 27 related issues; at the same time, we allow an additional interested party to express its
 28 views before the court.” United States v. City of Los Angeles, 288 F.3d 391, 397–98
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  1 (9th Cir. 2002) (quoting Greene v. United States, 996 F.2d 973, 979–80 (9th Cir.
  2 1993) (Reinhardt, J., dissenting)). A district court is required to accept as true the
  3 non-conclusory allegations made in support of an intervention motion, particularly
  4 where the propriety of intervention must be determined before discovery. Sw. Ctr.
  5 for Biological Diversity, 268 F.3d at 819–20.
  6         Rule 24 provides for intervention as a matter of right and by permission of the
  7 Court. Plaintiff-Intervenors satisfy the requirements for both avenues, so they
  8 should be allowed to intervene in the case.
  9         A.    PLAINTIFF-INTERVENORS ARE ENTITLED TO INTERVENE
                  AS A MATTER OF RIGHT.
 10
 11         Plaintiff-Intervenors satisfy Rule 24’s requirements for intervening in this

 12 Case as a matter of right. See Fed. R. Civ. P. 24(a)(1). The Ninth Circuit applies a
 13 four-part test for intervention as a matter of right: “(1) the [application for]
 14 intervention is timely; (2) the applicant has a significant protectable interest relating
 15 to the property or transaction that is the subject of the action; (3) the disposition of
 16 the action may, as a practical matter, impair or impede the applicant’s ability to
 17 protect its interest; and (4) the existing parties may not adequately represent the
 18 applicant's interest.” Citizens for Balanced Use v. Montana Wilderness Ass’n, 647
 19 F.3d 893, 897 (9th Cir. 2011) (quoting Prete v. Bradbury, 438 F.3d 949, 954
 20 (9th Cir. 2006). As discussed below, Plaintiff-Intervenors satisfy each element of
 21 this test.
 22               1.     Plaintiff-Intervenors’ Motion Is Timely.
 23         Timeliness is determined by the totality of the circumstances facing would-be
 24 intervenors, with a focus on three primary factors: “(1) the stage of the proceeding at
 25 which an applicant seeks to intervene; (2) the prejudice to other parties; and (3) the
 26 reason for and length of the delay.” United States v. Alisal Water Corp., 370 F.3d
 27 915, 919 (9th Cir. 2004); League of United Latin Am. Citizens v. Wilson, 131 F.3d
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  1 1297, 1302 (9th Cir. 1997). All three factors here weigh heavily in favor of the
  2 timeliness of this motion, as does the totality of the circumstances.
  3         Plaintiff-Intervenors move to intervene less than three months after the
  4 federal government adopted its policies of deliberate family separation on May 7,
  5 2018, and only days after the government applied for relief from the Flores
  6 settlement to detain minors and their parents (including Plaintiff-Intervenors) in ICE
  7 family residential facilities pending immigration proceedings. Although the Flores
  8 litigation was commenced years ago, in analyzing the “stage of the proceedings”
  9 factor the “[m]ere lapse of time alone is not determinative.” United States v. State of
 10 Oregon, 745 F.2d 550, 552 (9th Cir. 1984). “Where a change of circumstances
 11 occurs, and that change is the ‘major reason’ for the motion to intervene, the stage
 12 of proceedings factor should be analyzed by reference to the change in
 13 circumstances, and not the commencement of the litigation.” Smith v. Los Angeles
 14 Unified Sch. Dist., 830 F.3d 843, 854 (9th Cir. 2016).
 15         The federal government’s recent policy of deliberate family separation and its
 16 application for relief from the Flores settlement each constitutes a “change in
 17 circumstances” under Smith such that the “stage of the litigation” factor should be
 18 measured from the date of those actions. The Court of Appeals for the 9th Circuit
 19 has repeatedly deemed motions to intervene timely due to a change in circumstance
 20 even when the underlying litigation is several decades old. See, e.g., Smith, 830
 21 F.3d at 854 (20 years into a litigation); State of Oregon, 745 F.2d at 551–52 (15
 22 years into a litigation).
 23         Plaintiff-Intervenors also acted quickly to intervene once their interests were
 24 implicated. Plaintiff-Intervenors were detained only recently, and began to suffer
 25 the trauma and constitutional violations of the deliberate and recently adopted
 26 family separation policy on or around five weeks ago. See Smith v. Marsh, 194 F.3d
 27 1045, 1052 (9th Cir. 1999) (calculating the timeliness of a motion to intervene
 28 relative to “when proposed intervenors should have been aware that their interests
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  1 would not be adequately protected by the existing parties”). Therefore, and
  2 although the July 6, 2016 decision in Flores v. Lynch, 828 F.3d 898, 909 (9th Cir.
  3 2016), held that “parents were not plaintiffs in the Flores action, nor are they
  4 members of the certified classes,” only in May 2018 did Plaintiff-Intervenors have
  5 reason to protect their interests.
  6         Moreover, there would be no prejudice to the Flores plaintiffs by involving
  7 Plaintiff-Intervenors at this point. The Flores plaintiffs have previously recognized
  8 the importance of having a parent available to be with a child upon from release
  9 from detention, and parents who accompany their children in seeking asylum are
 10 uniquely situated and essential to any effort to provide adequate remedial mental
 11 health services for the trauma caused by the government’s family separation policy.
 12         The government cannot in fairness claim prejudice from the timing of this
 13 motion to intervene, because it is filed soon after it enacted its policy of deliberate
 14 family separation and within a week after the government itself applied for relief
 15 from the Flores settlement. The government also has no legitimate interest in
 16 pursuing a course of conduct that violates and fails to remedy the Flores plaintiffs’
 17 and Plaintiff-Intervenors’ constitutional rights, as explained in the Complaint in
 18 Intervention.
 19                 2.    Plaintiff-Intervenors Have a Significant Protectable Interest
 20         “An applicant has a ‘significant protectable interest’ in an action if (1) it
 21 asserts an interest that is protected under some law, and (2) there is a ‘relationship’
 22 between its legally protected interest and the plaintiff’s claims.” United States v.
 23 City of Los Angeles, 288 F.3d at 398. Parents have vital interests in how the federal
 24 government treats their children and in how they, the parents, are treated. Thus,
 25 Plaintiff-Intervenors’ interests easily satisfy this test.
 26         First, parents have a significant protectable interest in their children’s
 27 wellbeing. Johnson v. San Francisco Unified Sch. Dist., 500 F.2d 349, 352 (9th Cir.
 28 1974); see Texas v. United States, 805 F.3d 653, 660 (5th Cir. 2015) (“[Parents]
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  1 have an interest in directing the upbringing of their . . . children.”). Here, Plaintiff-
  2 Intervenors and their children have a liberty interest under the Due Process Clause
  3 in remaining together as a family and a right to be protected against the
  4 government’s arbitrary destruction of the integrity of their families. See, e.g.,
  5 Santosky v. Kramer, 455 U.S. 745 (1982); Moore v. E. Cleveland, 431 U.S. 494
  6 (1977); Meyer v. Nebraska, 262 U.S. 390 (1923). Moreover, Defendants’ decisions
  7 to end the Family Case Management Program, to detain families who are lawfully
  8 seeking asylum, and to isolate children in detention facilities separate from their
  9 parents are unconstitutional because they were motivated, at least in part, by
 10 intentional discrimination based on race, ethnicity, or national origin. Bolling v.
 11 Sharpe, 347 U.S. 497, 499 (1954); Vill. of Arlington Heights v. Metro. Hous. Dev.
 12 Corp., 429 U.S. 252, 265–66 (1977). Parental interests in the wellbeing of their
 13 children are particularly pronounced when “entangled with the constitutional claims
 14 of a racially defined class.” Johnson, 500 F.2d at 353. The harm the government
 15 has caused to Plaintiff-Intervenors’ children through its unconstitutional family
 16 separation policy is profound and can be remedied, if at all, only through the
 17 provision of trauma-informed mental health services with the participation of
 18 Plaintiff-Intervenors and outside a detention facility. Plaintiff-Intervenors have a
 19 substantial interest in participating in this case because they, as parents, have an
 20 interest to ensure that the Flores settlement is enforced so that their children receive
 21 this care.
 22         Second, the Plaintiff-Intervenor parents have their own related rights to
 23 vindicate in response to the harm of family separation. These include a right to
 24 release to be with their minor children while they await the conclusion of their
 25 asylum application. Zadvydas v. Davis, 533 U.S. 678 (2001). As the Ninth Circuit
 26 has made clear in Flores v. Lynch, under the Flores settlement alone, minor children
 27 cannot obtain parental release, in significant part because their parents did not
 28 participate in the litigation. 828 F.3d at 908. By intervening, Plaintiff-Intervenors
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  1 will directly present their right to release, and enable the Court to provide a
  2 complete response. Further, the federal government’s application for relief from the
  3 Flores settlement implicates parental rights by impacting the circumstances of
  4 Plaintiff-Intervenors’ further detention. See Texas, 805 F.3d at 660. As explained
  5 in the Complaint in Intervention, parents too suffer trauma due to their forced
  6 separation from their children.
  7               3.     The Disposition Of This Case May Practically Impair
  8                      Plaintiff-Intervenors’ Ability To Protect Their Interests
  9         The third prong of the Court’s Rule 24 analysis is whether the disposition of
 10 the action may, as a practical matter, impair or impede Plaintiff-Intervenors’ ability
 11 to protect their interests. United States v. City of Los Angeles, 288 F.3d at 401
 12 (“[T]he relevant inquiry is whether the [action] ‘may’ impair rights ‘as a practical
 13 matter’ rather than whether the [action] will ‘necessarily’ impair them.”). The Ninth
 14 Circuit “follow[s] the guidance of Rule 24 advisory committee notes that state that
 15 ‘[i]f an absentee would be substantially affected in a practical sense by the
 16 determination made in an action, he should, as a general rule, be entitled to
 17 intervene.’” Sw. Ctr. for Biological Diversity, 268 F.3d at 822.
 18         Here, the disposition of this case may affect Plaintiff-Intervenors’ ability to
 19 protect the interests described above. As a practical matter, Plaintiff-Intervenors are
 20 currently suffering the trauma of deliberate family separation and the constitutional
 21 harms outlined in their Complaint in Intervention. And if the Defendants’ Ex Parte
 22 Application for release from the Settlement Agreement is granted, then Plaintiff-
 23 Intervenors’ interest in family unification outside of detention and family mental
 24 health services outside of detention will be quashed. Intervention will allow
 25 Plaintiff-Intervenors to protect their interests from Defendants’ ongoing violation of
 26 the Settlement Agreement and efforts to evade their obligations under the Settlement
 27 Agreement.
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  1               4.     The Parties Do Not Adequately Represent Plaintiff-
                         Intervenors’ Interests
  2
  3         The final element of the Rule 24 analysis is whether the Parties adequately

  4 represent Plaintiff-Intervenors’ interests. Citizens for Balanced Use, 647 F.3d at
  5 900 (“Rule 24(a) has been interpreted to mean that a party whose interests are
  6 threatened may intervene in an action to protect those interests directly if the
  7 existing parties may not adequately protect their interests.”). There are three factors
  8 determining the adequacy of representation: “(1) whether the interest of a present
  9 party is such that it will undoubtedly make all of a proposed intervenor’s arguments;
 10 (2) whether the present party is capable and willing to make such arguments; and
 11 (3) whether a proposed intervenor would offer any necessary elements to the
 12 proceeding that other parties would neglect.” Arakaki v. Cayetano, 324 F.3d 1078,
 13 1086 (9th Cir. 2003). “The burden of showing inadequacy of representation is
 14 ‘minimal’ and satisfied if the applicant can demonstrate that representation of its
 15 interests ‘may be’ inadequate.” Citizens for Balanced Use, 647 F.3d at 898.
 16 Further, the Ninth Circuit has “stress[ed] that intervention of right does not require
 17 an absolute certainty that a party’s interests will be impaired or that existing parties
 18 will not adequately represent its interests.” See Id., at 900.
 19         In this case, the Parties do not and cannot adequately represent the interests of
 20 the Plaintiff-Intervenors. First, even assuming the Flores class undoubtedly would
 21 make and is presumed to be willing to make all of the arguments that Plaintiff-
 22 Intervenors would, Plaintiff-Intervenors will offer a new element to this litigation
 23 that may be essential to vindicate these arguments as a practical and procedural
 24 matter. The Ninth Circuit’s decision in Flores v. Lynch has already established that
 25 “[t]he Settlement does not explicitly provide any rights to adults.” 828 F.3d at 908.
 26 To be sure, that decision occurred prior to the adoption of the family separation
 27 policy, and therefore does not address the remedies the Settlement Agreement
 28 requires for that policy. Intervention is nevertheless appropriate to ensure that, in
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  1 the context of remedying the harm caused by family separation, the Court is able to
  2 provide adequate relief, including release with their parents outside of detention, to
  3 Plaintiff-Intervenors’ children who are class members under the Settlement
  4 Agreement.
  5         Second, Defendants’ enforcement policies have imposed unique harm on one
  6 subset of the Plaintiff class—accompanied minors—by separating them from their
  7 parents shortly after their joint arrival in this country. While their children, as
  8 members of the Flores class, can argue for their rights under the Settlement
  9 Agreement, Plaintiff-Intervenors are uniquely situated to advocate for their own
 10 interests under that Agreement based on their personal knowledge of the
 11 circumstances of separation, and based on their demonstrated intention to seek
 12 enforcement of the Settlement Agreement through the provision of trauma-informed
 13 mental health services that involve parents. By intervening, Plaintiff-Intervenors
 14 will directly present their right to release, and enable the Court to provide a
 15 complete and coordinated response to family separation that addresses the harm that
 16 the family separation has inflicted both on Plaintiff-Intervenors and on their
 17 children, while ensuring that that the interests of Plaintiff-Intevenors’ children are
 18 adequately represented by the broader class. See Citizens for Balanced Use, 647
 19 F.3d at 898.
 20                B.    PLAINTIFF-INTERVENORS SHOULD BE PERMITTED
 21                      TO INTERVENE.

 22         Alternatively, Plaintiff-Intervenors satisfy the requirements for permissive
 23 intervention under Rule 24. See Fed. R. Civ. P. 24(b)(1)(B). The Ninth Circuit
 24 applies three threshold requirements to a motion for permissive intervention: (1) the
 25 intervenor’s claim must share a common question of law or fact with the main
 26 action; (2) the motion must be timely; and (3) the court must have jurisdiction over
 27 the applicant’s claims. Donnelly v. Glickman, 159 F.3d 405, 412 (9th Cir. 1998).
 28 The district court also considers whether intervention will “unduly delay the main
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  1 action or will unfairly prejudice the existing parties.” Id. Plaintiff-Intervenors meet
  2 each of these requirements.
  3         First, Plaintiff-Intervenors’ Complaint in Intervention shares common
  4 questions of law and fact with the main action. The question of whether Defendants
  5 can legally enforce the Separation Policy is an issue that affects both Plaintiffs’ and
  6 Plaintiff-Intervenors’ constitutional rights. And the facts giving rise to this action
  7 stem from Defendants’ decision to implement the Separation Policy in the first
  8 place, which has caused the trauma of deliberate family separation and the
  9 constitutional harms outlined in the Complaint in Intervention.
 10         Plaintiff-Intervenors’ motion is also timely, and will not unduly delay the
 11 main action or unfairly prejudice the existing parties. As discussed above, Plaintiff-
 12 Intervenors’ interest in this action arose when Defendant issued the Separation
 13 Policy in May, and the Court’s consideration of that policy vis-à-vis the existing
 14 Parties will not be affected by Plaintiff-Intervenors’ participation in this case. And
 15 the stage of these proceedings does not foreclose intervention because Plaintiff-
 16 Intervenors are directly affected by the preservation and enforcement of the
 17 Settlement Agreement which the government has only challenged in recent days.
 18 See In re Estate of Ferdinand E. Marcos Human Rights Litig., 536 F.3d 980, 986
 19 (9th Cir. 2008) (granting intervention to challenge post-judgment extension order).
 20         Finally, as to jurisdiction, the Court has the same federal-question jurisdiction
 21 over Plaintiff-Intervenors that it has over their Plaintiff children. “In federal-
 22 question cases there should be no problem of jurisdiction with regard to an
 23 intervening defendant nor is there any problem when one seeking to intervene as a
 24 plaintiff relies on the same federal statute as does the original plaintiff.” Wright &
 25 Miller, 7C Fed. Prac. & Proc. Civ. (3d ed.) (“[T]he need for independent
 26 jurisdictional grounds is almost entirely a problem of diversity litigation.”).
 27 Plaintiff-Intervenors’ claims for violations of their constitutional rights fall squarely
 28 within the Court’s jurisdiction under 28 U.S.C. § 1331.
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  1        Therefore, Plaintiff-Intervenors satisfy each of the requirements for
  2 permissive intervention and should be allowed to intervene.
  3                                 IV.    CONCLUSION
  4        Plaintiff-Intervenors respectfully request that this Court grant Plaintiff-
  5 Intervenors’ Motion to Intervene as a matter of right or, alternatively, permissively.
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